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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                         WICHITA FALLS DIVISION

                             §
BRENDA RHAMES, et al.,       §                 Case No. 7:17-CV-00009-O
                             §
     Plaintiffs,             §
                             §                 The Honorable Reed C. O’Connor
     vs.                     §
                             §
UNITED STATES OF AMERICA, et §
al.,                         §
                             §
     Defendants.             §
                             §
                             §


  PLAINTIFF RHAMES’ RESPONSE IN OPPOSITION TO DEFENDANTS’
   MOTION TO DISMISS, OR, IN THE ALTERNATIVE, FOR SUMMARY
                           JUDGMENT


      Plaintiff Brenda Rhames, by and through undersigned counsel, submits this

Response in Opposition to Defendants’ Motion to Dismiss, Or, In the Alternative, For

Summary Judgment, ECF No. 206. For the reasons set forth in the memorandum

separately filed per LR 7.1(d), Ms. Rhames opposes the Defendants’ motion to dismiss

under Fed. R. Civ. P. 12(b)(1) and the alternative motion to dismiss under Fed. R. Civ.

P. 56, but waives her claim for nominal damages.



Respectfully submitted this 15th day of October, 2018.




Plaintiff Rhames’ Response in Opposition to Defendants’
Motion to Dismiss, Or, In the Alternative, For Summary Judgment                      1
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Plaintiff Rhames’ Response in Opposition to Defendants’
Motion to Dismiss, Or, In the Alternative, For Summary Judgment                      2
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                         CERTIFICATE OF SERVICE

      In accordance with Local Rule 5.1(d), the foregoing pleading was served on

October 15, 2018 in accordance with the CM/ECF filing system and FRCP 4.



                                      By: /s/ Gary S. McCaleb
                                          GARY S. MCCALEB
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Plaintiff Rhames’ Response in Opposition to Defendants’
Motion to Dismiss, Or, In the Alternative, For Summary Judgment                    3
